    Case 2:23-cv-00452-JLB-KCD Document 10 Filed 08/22/23 Page 1 of 4 PageID 55




                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                              FORT MYERS DIVISON

UNITED STATES OF AMERICA,
    Plaintiff

v.                                                           CASE NO. 2:23-cv-452-JLB-KCD

MARK A. GYETVAY,
      Defendant.
__________________________/

              CORRECTED1 UNOPPOSED MOTION TO EXTEND
                    TIME TO ANSWER COMPLAINT

         Defendant MARK A. GYETVAY (Mr. Gyetvay), by and through

undersigned counsel, respectfully files this unopposed motion to extend the

time to answer the complaint by 30 days. In support of this request, Mr.

Gyetvay submits the following:

1.       On June 22, 2023, the government filed a 27-page Complaint without

         any prior warning or pre-suit communications with Mr. Gyetvay’s

         counsel. (Doc. 1).

2.       The current deadline to respond would be August 28, 2023 based on Mr.

         Gyetvay’s waiver of service. (Doc. 7).


3.       The Complaint seeks a judgment in excess of $43,000,000 based on

         allegations that Mr. Gyetvay willfully failed to disclose certain foreign

1
 Mr. Gyetvay hereby refiles this “Corrected” Unopposed Motion to Extend Time To Answer Complaint in order to
correct a typo in the “Memorandum of Law” section on Page 2 of the original filed motion.




                                                     1
Case 2:23-cv-00452-JLB-KCD Document 10 Filed 08/22/23 Page 2 of 4 PageID 56




      bank account information on a 2014 “FBAR” that Mr. Gyetvay timely

      filed back in 2015. (Doc. 1 at 25-26).


4.    Due the complexity of the allegations in the Complaint, as well novel

      factual and legal issues involved this litigation, and the press of other

      matters, Mr. Gyetvay respectfully requests an additional 30 days for his

      counsel to review the allegations, research issues of law, and discuss the

      response with the defendant prior to filing.


5.    Local Rule 3.01(g) Certification. Undersigned counsel has conferred

      with the government and Department of Justice Tax Division attorney

      Jeremy Rill has communicated that the government does not oppose this

      motion for a 30-day extension of time to answer the Complaint.


6.    Mr. Gyetvay does not seek this continuance for the purposes of undue

      delay, but rather the ends of justice support the requested extension of

      time to adequately respond to the allegations in the Complaint.


                        MEMORANDUM OF LAW


      Rule 6(b) of the Federal Rules of Civil Procedure gives the Court the

power to grant the requested extension of time upon showing of good cause

In this instance, neither Mr. Gyetvay nor the United States would be unfairly

prejudiced by the requested extension.         Moreover, the extension would




                                       2
Case 2:23-cv-00452-JLB-KCD Document 10 Filed 08/22/23 Page 3 of 4 PageID 57




provide Mr. Gyetvay with adequate time to respond to a complex series of

allegations which date back well over a decade.


                               CONCLUSION


      For the foregoing reasons, Mr. Gyetvay respectfully requests that the

deadline to respond to the Complaint be extended by 30 days from August

28, 2023 to October 3, 2023.




                                   Respectfully submitted,


                                   /s/ Matthew J. Mueller
                                   Matthew J. Mueller, FBN: 0047366
                                   FOGARTY MUELLER HARRIS, PLLC
                                   501 E. Kennedy Blvd.
                                   Suite 790
                                   Tampa, Florida 33602
                                   Tel: 813-682-1730
                                   Fax: 813-682-1731
                                   Email: matt@fmhlegal.com
                                   Attorney for Defendant Mark A. Gyetvay




                                      3
Case 2:23-cv-00452-JLB-KCD Document 10 Filed 08/22/23 Page 4 of 4 PageID 58




                       CERTIFICATE OF SERVICE


      I hereby certify that on August 22, 2023, I electronically filed the

foregoing with the Clerk of Court by using the Court’s CM/ECF system,

thereby serving this document on all parties of record in this case.


                                     /s/ Matthew J. Mueller
                                     Matthew J. Mueller, FBN: 0047366
                                     Attorney for Defendant Mark A. Gyetvay




                                       4
